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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA


David Flowers,
                                                       Court File No.: 2:17–cv–02739–BHH–MGB
                          Plaintiff,
                                                         Defendants’ Jeff Anderson and Jeff
        v.                                             Anderson and Associates, P.A.’s Reply to
                                                        Defendant Gregg Meyers’ “Return” to
Jeff Anderson, Jeff Anderson & Associates,              Their Limited Objection to Magistrate
P.A., and Gregg Meyers,                                Judge Baker’s May 11, 2018 Report and
                                                                 Recommendation
                          Defendants.


        The Court should disregard Defendant Meyers’ “Return” to JAA’s 1 limited Objection for

at least two reasons. 2

        First, Defendant Meyers argues that the Court cannot consider factual maters outside of

Plaintiff David Flowers’ Complaint. (Meyer Return at 1 (Doc. No. 31).) This is wrong. As the

R&R stated, (Doc. No. 28 at 7), and JAA pointed out in its limited Objection, (Doc. No. 30 at 2

n.1), in ruling on a motion to dismiss under Rule 12(b)(1), the court may consider exhibits

outside the pleadings. Williams v. United States, 50 F.3d 299 (4th Cir. 1995). Similarly, a court

may take judicial notice of docket entries, pleadings, and papers in deciding a Rule 12(b)(6)

motion to dismiss. See, e.g., Papasan v. Allain, 478 U.S. 265, 268 n. 1 (1986); Hall v. Virginia,
385 F.3d 421, 424 n.3 (4th Cir. 2004); Bey v. Shapiro, 997 F. Supp. 2d 310, 316 n.4 (D. Md.

2014) aff’d, 584 F. App’x 135 (4th Cir. 2014) (judicial notice of state court docket entries).

Defendant Meyers does not address this well-established authority.

        Second, Defendant Meyers contends that Plaintiff Flowers’ declaratory judgment claim

against JAA and him is not moot because “on March 27, 2018, [JAA] most recently asserted, in


1
  Defined terms have the same meaning as in JAA’s Limited Objection. (Doc. No. 28.)
2
  Defendant Meyers’ “Return to Objection” is puzzling for many reasons. Most notably, it is odd
that Defendant Meyers’ “Return to Objection” requests that the Court does not dismiss Plaintiff
David Flowers’ count for Declaratory Judgment, which is the only count in the Complaint
specifically alleged against Defendant Meyers. (Compl. ¶¶ 55–65.)
                                                   1
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writing, yet another false claim about their entitlements in various cases in which plaintiff and

Mr. Meyers have an interest.” (Meyers’ Return at 2.) Defendant Meyers’ statement is not only a

misrepresentation, but also misses the point. As an initial matter, JAA believed that some of the

Contested Clients’ cases subject to the Minnesota Settlement Agreement between JAA and

Defendant Meyers had resolved. JAA wrote a letter to Mr. Meyers requesting payments to JAA

on those resolved cases. (Ex. A.) Once Mr. Flowers informed JAA that the cases JAA believed

had resolved were on appeal, JAA pressed the issue no further. (Ex. B.)

       In any event, Plaintiff Flowers’ claim for declaratory judgment is based on his request

that for any of the resolved Contested Clients’ cases he should receive 50% of any recovery.

(Compl. ¶¶ 2, 64.) But JAA entered into an agreement with Defendant Meyers obligating

Defendant Meyers to disperse to Plaintiff Flowers 50% of all fees earned on the Contested

Clients’ cases that Defendant Meyers worked on while at JAA. (Doc. No. 6–2 at 20–31.) Thus,

pursuant to the Minnesota Settlement Agreement, JAA does not dispute the ultimate relief

Plaintiff Flowers seeks in his declaratory judgment claim—50% of the recovery on any of the

Contested Clients’ cases. 3 There is no case or controversy for the Court to adjudicate. See, e.g.,
Waller v. Waller, 66 S.E.2d 876, 882 (S.C. 1951) (a declaratory judgment “should not address

moot or abstract matters”).

       Accordingly, the Court should disregard Defendant Meyers’ “Return to Objection” and

sustain JAA’s limited objection requesting the Court adopt the R&R in part, but correct the

R&R’s recommendation to deny JAA’s motion to dismiss Plaintiff Flowers’ claims for tortious

interference with a contract and declaratory judgment.




3
  To the extent Plaintiff Flowers asserts that declaratory relief is necessary because JAA may file
an attorney lien over potential recoveries in the Contested Clients’ cases, (Compl.¶¶ 59–62),
such assertion is nonsense in light of the Minnesota Settlement Agreement and is too speculative
to justify the Court invoking its jurisdiction under the Declaratory Judgments Act. See, e.g.,
Sunset Cay, LLC v. City of Folly Beach, 593 S.E.2d 462, 466 (S.C. 2004) (a justiciable
controversy for a declaratory judgment claim cannot be based on benevolent speculation)
                                                2
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Dated: June 5, 2018               DUFFY & YOUNG, LLC

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